Bond No.: CSC-305592C

Cc O l O Nn ; eS [ Bond Type: Injunction Bond

123 Tice Boulevard Case/Docket No.: 24-12397-

Woodcliff Lake, NJ 07677 CMA
(800) 221-3662 Adv. No. 25-01010-CMA

COMMONWEALTH/STATE OF: Washington

Gary Rosenthal
Plaintiff(s)
| VS.
| Buda Hill, LLC, And Eastside Funding, LLC
| Defendant(s)

KNOW ALL BY THESE PRESENTS:

That we, Gary S Rosenthal as Principal(s), and, Colonial Surety Company of 123 Tice Blvd, Suite 250,
Woodcliff Lake, NJ 07677, a corporation authorized to transact surety business in the State of Washington,
as Surety, are held and firmly bound unto UNITED STATES BANKRUPTCY COURT, as Obligee, in the
maximum penal sum of Thirty Five Thousand Dollars and No Cents($35,000), lawful money of the United
States of America, for the payment of which,well and truly to be made, we bind ourselves, our heirs, legal
representatives, successors and assigns, jointly and severally, firmly by these presents.

Whereas, the above named plaintiff has duly applied to this court for an Injunction against the defendant in
this action, according to the statute in such cases provided.

NOW THEREFORE, THE CONDITION OF THIS OBLIGATION IS SUCH, That, if the said plaintiff shall pay
the said defendant such damages as he sustains by reason of said change to an Injunction, if the Court
finally decided that the said plaintiff is not entitled thereto (or to either or any of them, if more than one
defendant), then this obligation shall be void, otherwise to remain in force and effect.

Signed, sealed, and dated this 24th day of February, 2025

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Signature “in % Colonial Surety Company
Wayne Nunziata, President

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